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                            United States District Court
                               Northern District of Texas
                                                                       Fort Worth Division

                                           12/7/18

Arnulfo Rodriguez
#53753-177
BOP Giles W Dalby CI
805 N Avenue F
Post, TX 79356




Re: Your correspondence received in the U.S. District Clerk’s Office on 12/6/18
Case No./Style: 4:18-cv-00876-O Rodriguez v. USA

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